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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI


RE: RACHEL M. McMILLIAN                                             CASE NO: 23-13377-SDM
    DEBTOR                                                          CHAPTER 13


                        MOTION FOR MODIFICATION OF PLAN


       COMES NOW the debtor and files this proposed modification of her Chapter 13 plan as

follows:

       The debtor filed this Chapter 13 petition on October 31, 2023. She proposed a fifty-eight (58)

month plan. The Mississippi Department of Revenue filed a priority proof of claim (claim#9) in the

amount of $2,352.00 for sales taxes owed. The debtor respectfully requests to pay this priority amount

of $2,352.00 through her Chapter 13 plan. The debtor further requests that her wage order be amended

accordingly.

       WHEREFORE, the debtor prays that the Chapter 13 plan be modified as set forth above.

       RESPECTFULLY submitted, this the 24th day of June 2024.



                                                           /s/ Kimberly B. Bowling
                                                            Kimberly B. Bowling
                                                            Attorney for Debtor

MITCHELL & CUNNINGHAM, PC
112 North Broadway
Post Office Box 7177
Tupelo, MS 38802-7177
(662) 407-0408/ (662) 407-0782 Fax
tupelo@mcbfreshstart.com
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                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF MISSISSIPPI


RE: RACHEL M. McMILLIAN                                               CASE NO: 23-13377-SDM
    DEBTOR                                                            CHAPTER 13

                     NOTICE OF MOTION FOR MODIFICATION OF PLAN

       YOU ARE HEREBY NOTIFIED that a written response to the attached motion for modification

of plan, must be filed with:

                                    Shallanda J. Clay, Clerk of Court
                                    Cochran U.S. Bankruptcy Court
                                    Northern District of Mississippi
                                        703 Highway 145 North
                                      Aberdeen, MS 39703-0867

and a copy must be served on the undersigned debtor’s Attorney, the Chapter 13 Trustee, U.S. Trustee,

and all affected creditors on or before thirty (30) days from the date of this notice. In the event a

written response is filed, the Court will notify you of the date, time, and place of the hearing thereon. If

no written response is timely filed, the motion may be granted by the Court.

DATED: June 24, 2024

CHAPTER 13 STANDING TRUSTEE                          /s/ Kimberly B. Bowling
                                                     ATTORNEY FOR DEBTOR
Todd S. Johns                                        112 North Broadway
Post Office Box 1326                                 Post Office Box 7177
Brandon, MS 39043                                    Tupelo, MS 38802-7177
                                                     (662) 407-0408
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                                    CERTIFICATE OF SERVICE

      I, Kimberly B. Bowling, Attorney for the debtor, do hereby certify that I have this day either

mailed, a true and correct copy by United States mail, postage prepaid or electronically mailed through

the ECF system, the above and foregoing Motion for Modification of Plan and Notice of Motion for

Modification of Plan to the following:

      Chapter 13 Trustee
      Todd S. Johns
      tjohns13ecf@ch13mstrustee.com

      U.S. Trustee
      USTPRegion05.AB.ECF@gmail.com

      Mississippi Department of Revenue
      Bankruptcy Section
      P.O. Box 22808
      Jackson, MS 39225

DATED: June 24, 2024




                                                   /s/ Kimberly B. Bowling
                                                   Kimberly B. Bowling, 99906
                                                   Attorney for Debtor


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